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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS



WAYFAIR LLC,                          )                  CIVIL ACTION
                   Plaintiff,         )
                                      )                  NO. 1:12 - 12155- FDS
                   v.                 )
                                      )
                                      )
THE FURNITURE AUTHORITY, LLC          )
               Defendant.             )




                                NOTICE OF DEFAULT


      Upon application of the Plaintiff, WAYFAIR LLC for an order of Default for
failure of the Defendant, THE FURNITURE AUTHORITY, LLC, to plead or
otherwise defend as provided by Rule 55(a) of the Federal Rules of Civil
Procedure, notice is hereby given that the Defendant has been defaulted this 12TH
day of February, 2013.



                                                  SARAH A. THORNTON
                                                  CLERK OF COURT



                                            By:   /s/ Pietro Cicolini
                                                  Deputy Clerk

Notice mailed to:
The Furniture Authority
Attn: Legal Department
2879 U.S. 9
Howell, NJ 07731
